I concur in the result announced in the opinion of the Chief Justice.
The question of procedure is of so great importance that I think it should be definitely settled by this Court. Is the judgment rendered by the trial Judge "final," as the Act declares it to be; and, if not, is it reviewable, whether by appeal or by writ of certiorari?
What are the powers of the Supreme Court under the Constitution? Section 4 of Article 5 of the Constitution reads as follows: "The Supreme Court shall have power to issue writs or orders of injunction, mandamus, quo warranto, prohibition, certiorari, habeas corpus and other original and remedial writs. And said Court shall have appellate jurisdiction only in cases of chancery, and in such appeals they shall *Page 371 
review the findings of fact as well as the law, except in chancery cases where the facts are settled by a jury and the verdict not set aside, and shall constitute a Court for the correction of errors at law under such regulations as the General Assembly may by law prescribe."
Notice the language, "* * * and shall constitute a Court for the correction of errors at law under such regulations as the General Assembly may by law prescribe." The language is mandatory, and the Court has held repeatedly that the provisions of the Constitution are self-executing.
This being true, when the Legislature, by the Act of 1924, undertook to say that the action of the Circuit Judge on questions of law should be final, did something which it did not have the power to do, and in so far as that provision is concerned "it is in the very teeth" of the Constitution, and hence null and void.
Such a provision cannot be sustained, I think, under the guise of the term "regulation." It is not a regulation, but an effort to destroy both the letter and spirit of the Constitution. It had no more right to say that the Supreme Court could not review the errors of law committed by the Circuit Judge in such special proceeding than it would have the right to pass an Act saying that the Supreme Court could not correct errors of law committed by Circuit Judges in cases tried in the Courts of Common Pleas and General Sessions.
This being true, the next question is: What method shall be pursued in getting the case before the Supreme Court for review? The Legislature has not prescribed the method of review in the Act of 1924, or, to express it in other words, has not regulated or prescribed the mode of procedure in respect thereto, but, on the contrary, forbids review. But there must be some method. It is inconceivable that there is not some way of enabling the Supreme Court to do what the Constitution says it "shall" do.
In the absence of the right of appeal, the method is by the writ of certiorari, a method always present when the right *Page 372 
of appeal does not exist. And while it is said in some of the cases that it is discretionary whether or not such writ shall issue, all of the cases hold that a judicial discretion is meant, not an arbitrary or capricious discretion.
Therefore, when it appears that an error of law apparent on the record has been committed by an inferior Court, it becomes the duty of the Court under the mandate of the Constitution to issue the writ and correct the error of law. I conclude, therefore, that so much of the Act of 1924 as undertakes to deprive this Court of the right to review the action of Judge Bonham is void, and this Court has the right to correct his error in holding the Act unconstitutional by writ of certiorari, and not by way of appeal.
In respect to the interesting question whether or not any Court can review the action of the Governor in removing a recalcitrant officer, a recent case with complete annotations is found in 52 A.L.R., 1-33. In the annotation is found a case (State v. Frazier, 47 N.D., 314, 182 N.W., 545, 547) which seems to be in point, and from which I quote the following:
"The contention is made that the Governor is immune from judicial control or interference, by reason of his position as chief executive officer, exercising an executive function in a removal proceeding. This might be conceded, for purposes of this case, if the Constitution or the Legislature, in creating the power of removal, had prescribed an arbitrary or solely executive function or removal. * * * Thus, it might be so contended if the Legislature had provided that the officer might be removed without cause, dependent solely upon the exercise of executive discretion. The sovereign power of removal from office is not necessarily an executive function, unless so made by the Constitution and Statutes of the State. This power, formerly at the common law, resident in the King in our State, rests with the people, and evinces its expression in the Constitution or statutory laws. It may be executive, judicial, or legislative, dependent upon *Page 373 
the manner in which the people in the specific instance have allotted or bestowed this power. * * * Thus, the Legislature may exercise the power directly by impeachment proceedings. * * *
"Again the Legislature, pursuant to constitutional provision, might grant this power of removal to the judicial department. * * * Accordingly, it follows that, it the Legislature possesses the power of prescribing the method and manner of appointment to and removal from office, it may allot this power to either the executive department or the judicial department, or to both, and may prescribe the method of its exercise, namely, partly executive, partly judicial, that is, quasi-judicial, in its nature. So, when the Governor exercises this power pursuant to the legislative grant, it may not be said that the limitations placed on the exercise of this power is an interference with an executive function, when such power was not thereto possessed as an executive function, and when, further, it is not granted to him as a purely executive function. * * * This Court, therefore, has already adopted, without dissent, the principle that a legal cause in such case must exist and must be established at a hearing. It is merely trite to state that a legal cause is a judicial cause. It follows, accordingly, that the Governor, in exercising his power in such removal proceeding necessarily acts in a quasi-judicial manner. That his orders, quasi-judicial in character are subject to judicial jurisdictional review and that such review does not serve to interfere with any purely executive prerogative."